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   7 ESSENTIAL CONSULTANTS, LLC and
   8 MICHAEL COHEN
   9
                           UNITED STATES DISTRICT COURT
  10
                         CENTRAL DISTRICT OF CALIFORNIA
  11
  12 STEPHANIE CLIFFORD a.k.a.                  Case No. 2:18-CV-02217-SJO-FFM
       STORMY DANIELS a.k.a. PEGGY
  13 PETERSON, an individual,                   DECLARATION OF MICHAEL D.
                                                COHEN IN SUPPORT OF JOINT EX
  14                                            PARTE APPLICATION FOR STAY
                  Plaintiff,
  15
                                                Assigned for All Purposes to the
  16         v.
                                                Hon. S. James Otero
  17 DONALD J. TRUMP a.k.a. DAVID
  18 DENNISON, an individual,                   Action Filed: March 6, 2018
     ESSENTIAL CONSULTANTS, LLC, a
  19
     Delaware Limited Liability Company,
  20 MICHAEL COHEN, an individual, and
     DOES 1 through 10, inclusive,
  21
  22                Defendants.
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                               DECLARATION OF MICHAEL D. COHEN
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